                                               Case 2:19-cv-08109-SVW-MAA Document 46-5 Filed 10/26/20 Page 1 of 6 Page ID #:406




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                             Email: laura.inlow@cdiglaw.com
                                                                         3   21515 Hawthorne Blvd., Suite 800
                                                                         4   Torrance, CA 90503
                                                                             Telephone: (424) 212-7777
                                                                         5   Facsimile: (424) 212-7757
                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8                       UNITED STATES DISTRICT COURT
                                                                         9
                                                                                      CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                         CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                               Plaintiff,             DEFENDANT’S REQUEST FOR
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                      JUDICIAL NOTICE IN SUPPORT
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                           OF MOTION FOR SUMMARY
                                                                        14                                            JUDGMENT OR, IN THE
                                                                             COUNTY OF LOS ANGELES, a                 ALTERNATIVE, MOTION FOR
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                        PARTIAL SUMMARY
                                                                        16   DEPARTMENT, a public entity;             JUDGMENT; DECLARATION OF
                                                                             SHERIFF JAMES MCDONNELL, in              LAURA E. INLOW: (PROPOSED)
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH               ORDER
                                                                        18   COLLINS, individually and in his
                                                                             official capacity as a Deputy, and       [Filed Concurrently with Motion for
                                                                        19   DOES 1 through 10, inclusive
                                                                                                                      Summary Judgment, Separate Statement
                                                                        20                     Defendants.            of Undisputed Facts, Declarations and
                                                                                                                      (Proposed) Order]
                                                                        21

                                                                        22                                            Date: November 30, 2020
                                                                                                                      Time: 1:30 p.m.
                                                                        23                                            Dept.: 10A
                                                                        24
                                                                                                                      Action Filed: September 18, 2019
                                                                        25                                            Trial Date: January 12, 2021
                                                                        26
                                                                             TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
                                                                        27
                                                                             OF RECORD:
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                              REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
                                               Case 2:19-cv-08109-SVW-MAA Document 46-5 Filed 10/26/20 Page 2 of 6 Page ID #:407




                                                                         1          PLEASE TAKE NOTICE THAT Defendant County of Los Angeles submits
                                                                         2   this request for judicial notice in support of its Motion for summary judgment or,
                                                                         3
                                                                             in the alternative, motion for partial summary judgment. Rule 201(d) of the
                                                                         4
                                                                             Federal Rules of Evidence provides that a court shall take judicial notice of
                                                                         5

                                                                         6
                                                                             adjudicative facts if requested and supplied with the necessary information. A

                                                                         7   judicially noticed fact must be one not subject to reasonable dispute that is either
                                                                         8   (1) generally known within the territorial jurisdiction of the trial court or (2)
                                                                         9   capable of accurate and ready determination by resort to sources whose accuracy
                                                                        10
                                                                             cannot reasonably be questioned. Fed. Rule Evid., Rule 201(b). Such “[j]udicial
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                             notice may be taken as any stage of the proceeding,” Sinaloa Lake Owners
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                             Association v. City of Simi Valley (9th Cir. 1989) 882 F.2d 1398, 1403 n. 2 cert.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   denied, 494 U.S. 1016 (1990), and is mandatory “if requested by a party and if [the
                                                                        15   court is] supplied with the necessary information.” Fed. Rule Evid., Rule 201(d).
                                                                        16   The Court may take judicial notice of records and reports of administrative bodies.
                                                                        17
                                                                             Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007).
                                                                        18
                                                                                    Defendant requests that the court take judicial notice of the following
                                                                        19

                                                                        20
                                                                             documents attached hereto which are “capable of accurate and ready

                                                                        21   determination” by resort to the attached sources “whose accuracy cannot
                                                                        22   reasonably be questioned.”
                                                                        23      Exhibit                                     Title
                                                                        24      A          True and correct copy of plaintiff’s November 18, 2014
                                                                        25                 Government Tort Claim.
                                                                        26      B          True and correct copy of County’s denial letter re 2014
                                                                        27                 Government Tort Claim.
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                                 REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
                                               Case 2:19-cv-08109-SVW-MAA Document 46-5 Filed 10/26/20 Page 3 of 6 Page ID #:408




                                                                         1      C         Plaintiff’s Amended Tort Claim of 2019.
                                                                         2
                                                                                D         County’s denial of Amended Tort Claim.
                                                                         3

                                                                         4
                                                                                E         True and correct copy of the Court’s order granting County’s
                                                                         5
                                                                                          Motion for Summary Judgment in 19-cv-00471
                                                                         6

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COLLINSON, DAEHNKE, INLOW & GRECO




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                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                                    These documents are properly the subject of judicial notice. The Court may
                                                                        25
                                                                             take judicial notice of matters of public record which are not subject to reasonable
                                                                        26
                                                                             dispute over authenticity. Grabhorn Inc. v. Metro. Serv. Dist., 624 F.Supp.2d 1280,
                                                                        27
                                                                             1283 (D. Or. 2009), citing Lee v. Los Angeles, 250 F.3d 668, 688-690 (9th Cir.
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                                REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
                                               Case 2:19-cv-08109-SVW-MAA Document 46-5 Filed 10/26/20 Page 4 of 6 Page ID #:409




                                                                         1   2001); see also United States v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980) (“[A]
                                                                         2   court may take judicial notice of its own records in other cases, as well as the
                                                                         3   records of an inferior court in other cases.”).
                                                                         4

                                                                         5   DATED: October 26, 2020         COLLINSON, DAEHNKE, INLOW & GRECO

                                                                         6

                                                                         7                                     By: Laura E. Inlow
                                                                                                               Laura E. Inlow, Esq.
                                                                         8                                     Attorneys for Defendant, COUNTY OF LOS
                                                                         9                                     ANGELES

                                                                        10

                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                                                 REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
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                                                                         1                       DECLARATION OF LAURA E. INLOW
                                                                         2
                                                                             I, Laura E. Inlow, declare as follows:
                                                                         3
                                                                                   1.     I am a partner of Collinson, Daehnke, Inlow & Greco, counsel of
                                                                         4

                                                                         5   record for Defendant County of Los Angeles herein. I make the following

                                                                         6   declaration based on my own personal knowledge. I could and would competently
                                                                         7
                                                                             testify under oath to the facts stated herein.
                                                                         8

                                                                         9         2.     A true and correct copy of plaintiff Daniel Nersoyan’s Government

                                                                        10   Tort claim dated November 18, 2014 is attached hereto as Exhibit A.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                   3.     A true and correct copy of the County’s tort claim denial letter dated
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                             January 15, 2015 is attached hereto as Exhibit B.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14         4.     A true and correct copy of plaintiff Daniel Nersoyan’s amended tort
                                                                        15
                                                                             claim dated March 31, 2019 is attached hereto as Exhibit C.
                                                                        16

                                                                        17         5.     A true and correct copy of the County’s amended tort claim denial
                                                                        18   letter dated April 8, 2019 is attached hereto as Exhibit D.
                                                                        19
                                                                                   6.     A true and correct copy of the Court’s ruling on the County’s motion
                                                                        20

                                                                        21   for summary judgment in the case of Valencia v. County of Los Angeles, case
                                                                        22   number 19-cv-00471 is attached hereto as Exhibit E.
                                                                        23
                                                                                   I declare under penalty of perjury under the laws of the United States of
                                                                        24   America that the foregoing is true and correct. Executed this 26th day of October
                                                                        25   2020 in Torrance, California.
                                                                        26                                            Laura E. Inlow
                                                                        27                                            Laura E. Inlow
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                                 REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
                                               Case 2:19-cv-08109-SVW-MAA Document 46-5 Filed 10/26/20 Page 6 of 6 Page ID #:411




                                                                         1                                PROOF OF SERVICE
                                                                         2                                  Nersoyan v. COLA
                                                                                                           Case No. CV19-08109
                                                                         3

                                                                         4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8          On October 26, 2020 I served the following document described as:
                                                                             DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR
                                                                         9   SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR PARTIAL
                                                                             SUMMARY JUDGMENT; DECLARATION OF LAURA E. INLOW: (PROPOSED)
                                                                        10   ORDER on all interested parties in this action by placing [X] a true copy [ ] the
                                                                        11   original thereof enclosed in sealed envelopes addressed as follows:
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12                                  Counsel for Plaintiff
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                                         Michael S. Devereux, Esq.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                              WEX LAW A PROFESSIONAL LAW CORPORATION
                                                                        14                           1880 Century Park East, Suite 1101
                                                                                                          Los Angeles, CA 90067
                                                                        15                                  Tel: 213-986-9844
                                                                                                            Fax: 213-342-6190
                                                                        16                                Email: mike@wex.law
                                                                        17
                                                                                    [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        18

                                                                        19
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                             processing correspondence for mailing. Under that practice, this document will be
                                                                        20   deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        21
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                             on motion of the party served, service is presumed invalid if postal cancellation
                                                                        22   date or postage meter date is more than one day after date of deposit for mailing in
                                                                        23   affidavit.

                                                                        24          [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                             of the bar of this Court at whose discretion the service was made.
                                                                        25

                                                                        26         Executed on October 26, 2020 at Torrance, California.

                                                                        27                                          /s/ Marianne M. Guillinta
                                                                        28                                          Marianne Guillinta

                                                                             ______________________________________________________________________________
                                                                                                REQUEST FOR JUDICIAL NOTICE; (PROPOSED) ORDER
